
41 So.3d 958 (2010)
Domenic L. MASSARI, III, Appellant,
v.
Thomas K. BOURKE, Appellee.
No. 3D09-2251.
District Court of Appeal of Florida, Third District.
July 21, 2010.
Rehearing Denied August 30, 2010.
Cohen, Foster and Romine and Todd Foster, Tampa, for appellant.
Goldstein, Tanen and Trench and Richard M. Goldstein, Miami, for appellee.
Before GERSTEN, WELLS, and CORTIÑAS, JJ.
PER CURIAM.
Affirmed. See 18 U.S.C. § 3664(m)(1)(B) (2008).
